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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                   CASE NO: 2:15-cr-93-FtM-38MRM

GARRY JOSEPH


                                         ORDER

       This matter comes before the Court on the Stipulation regarding Restitution (Doc.

#73) filed on January 17, 2017. The parties have filed this stipulation indicating that the

defendant will pay restitution jointly and severally with Nesly Loute (2:15-cr-99-FtM-

38MRM) and Sijames Melus (2:15-cr-93-FtM-38MRM) to the victims of the offense listed

in the stipulation:

              Payee                            Amount
              Allstate                         $50,999.47
              Ascendant                        $2,061.03
              Direct                           $257,151.64
              Esurance                         $15,721.70
              Fajua                            $42,867.88
              Farmers Insurance                $56,197.41
              Foremost                         $6,863.14
              Gainsco                          $3,321.71
              Geico                            $409,850.77
              Hartford                         $9,698.76
              Horace Mann                      $262,671.00
              Infinity Insurance               $76,279.25
              Liberty Mutual                   $40,275.15
              Mercury                          $71,346.84
              Ocean Harbor                     $1,734.74
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               Ocean Harbor                        $14,194.10
               Peachtree                           $40,573.67
               Progressive                         $124,023.17
               Safeco                              $23,683.56
               Sentry                              $15,963.37
               Star                                $17,239.58
               State Farm Insurance                $117,792.04
               Travelers                           $15,965.77
               Windhaven                           $130,129.60
               Total:                              $1,806,605.35


          Having considered the stipulation, the court will accept the stipulation as outlined

below.

         Accordingly, it is now

         ORDERED:

         The Stipulation regarding Restitution (Doc. #73) is ACCEPTED and ADOPTED.

The clerk is directed to amend the restitution portion of the Judgment to reflect the

stipulated amounts and payees listed above.

         DONE AND ORDERED at Fort Myers, Florida, this 10th day of February, 2017.




Copies: Counsel of Record




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